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         Plaintiffs filed the Application on July 27, 2021. In support of the Application, Plaintiffs
 filed the following declarations:

                    Declaration of Angelina Farella, MD (“Farella Declaration,” Dkt. No. 8 at 36);
                    Declaration of Lee Merritt, MD (“Merritt Declaration,” Dkt. No. 8 at 45);
                    Declaration of Mike Yeadon, PhD (“Yeadon Declaration,” Dkt. No. 8 at 56);
                    Declaration of Peter A. McCullough, MD (“McCullough Declaration,” Dkt. No.
                     8 at 95);
                    Declaration of Simone Gold, MD, JD (“Gold Declaration,” Dkt. No. 8 at 304);
                    Declaration of Richard Urso, MD (“Urso Declaration,” Dkt. No. 8 at 308);
                    Declaration of Carly Powell (“Powell Declaration,” Dkt. No. 8 at 318); and
                    Declaration of Deborah Choi (“Choi Declaration,” Dkt. No. 8 at 321).

         Defendants filed an opposition on July 28, 2021. (“Opposition,” Dkt. No. 9.) In support
 of the Opposition, Defendants filed the following declarations:

                    Declaration of Bernadette M. Boden-Albala, MPH (“Boden-Albala Declaration,”
                     Dkt. No. 10);
                    Declaration of David Lo, MD, PhD (“Lo Declaration,” Dkt. No. 11);
                    Declaration of Susan S. Huang, MD, MPH (“Huang Declaration,” Dkt. No. 12);
                     and
                    Declaration of Emily T. Kuwahara (“Kuwahara Declaration,” Dkt. No. 13).

                                               II. FACTS

 A. The Policy

         On July 15, 2021, the University of California (“University” or “UC”) adopted the
 SARS-CoV-2 (COVID-19) Vaccination Program (“Policy”) “to facilitate the protection of the
 health and safety of the University community” in the face of the COVID-19 pandemic.
 (Kuwahara Decl., Ex. 2.) The Policy requires personnel, students, and trainees (“Covered
 Individuals”)1 to provide proof of full vaccination or submit a request for exception or deferral as
 a condition of physical presence at any campus, medical center, or facility operated by the
 University. (Id. at 5.) Covered Individuals must meet this requirement by two weeks before the
 first day of instruction. (Id.)




         1
         Specifically, Covered Individuals include “anyone designated as Personnel, Students, or
 Trainees … who physically access a University Facility or Program in connection with their
 employment, appointment, or education/training.” (Id. at 2.)


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         The Policy provides for limited exceptions based on medical exemption, disability, or
 religious objections. (Id. at 3.) Deferrals are only available based on pregnancy, for the duration
 of the pregnancy, and until the individual returns to work or instruction. (Id. at 2.)

        Individuals who were recently diagnosed with COVID-19 and/or had an antibody test that
 shows they have natural immunity may be eligible for a temporary medical exemption:

         You may be eligible for a temporary Medical Exemption (and, therefore, a temporary
         Exception), for up to 90 days after your diagnosis and certain treatments. According to
         the US Food and Drug Administration, however, “a positive result from an antibody test
         does not mean you have a specific amount of immunity or protection from SARS-CoV-2
         infection … Currently authorized SARS-CoV-2 antibody tests are not validated to
         evaluate specific immunity or protection from SARS-CoV-2 infection.” For this reason,
         individuals who have been diagnosed with COVID-19 or had an antibody test are not
         permanently exempt from vaccination.

 (Id. at 11.)

         The Policy provides that “[a]lternative remote instructional programming is not expected
 to be available in most cases and the availability of alternative remote work arrangements will
 depend on systemwide guidance and any local policies or procedures, as well as the nature of the
 work to be performed.” (Id. at 5.) Covered Individuals who do not comply with the Policy by
 presenting proof of vaccination or requesting an applicable exception or deferral “will be barred
 from Physical Presence at University Facilities and Programs, and may experience consequences
 as a result of non-Participation, up to and including dismissal from educational programs or
 employment.” (Id. at 12-13.)

         In a letter accompanying the Policy, University President Michael V. Drake, MD,
 explained that the Policy “is the product of consultation with UC infectious disease experts and
 ongoing review of evidence from medical studies concerning the dangerousness of COVID-19
 and emerging variants of concern, as well as the safety and effectiveness of the vaccines for
 preventing infection, hospitalizations, and deaths from COVID-19, and for reducing the spread of
 this deadly disease.” (Kuwahara Decl., Ex. 1.) Drake further asserts that the Policy “was
 arrived at after reviewing the safety and efficacy of the three vaccines approved by the Food and
 Drug Administration (FDA) for emergency use, and considering the severe risks presented by a
 virus that has killed more than 600,000 people in the United States alone, as well as the rise of
 more transmissible and more virulent variants.” (Id.)

 B. Plaintiffs’ Position

        Plaintiffs challenge the Policy as it applies to individuals who contracted COVID-19 and
 recovered. Plaintiff Deborah Choi is a second-year law student at UC Irvine, who is also
 employed by the school as a research assistant. (Choi Decl. ¶ 2.) Choi contracted COVID-19 in
 November 2020 and recovered. (Id. ¶ 5.) Plaintiff Carly Powell is a senior at UC Riverside.

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 (Powell Decl. ¶ 2.) Powell contracted COVID-19 in December 2020 and recovered. (Id. ¶ 3.)
 Individual Plaintiffs assert that they have not provided their “informed consent” to COVID-19
 vaccination. (Choi Decl. ¶ 3; Powell Decl. ¶ 6.) They argue that the Policy does not respect
 their right to work with their doctors to assess their natural immunity to COVID-19 beyond 90
 days. (Choi Decl. ¶ 3; Powell Decl. ¶ 6.) AFD asserts that its member physicians provide care to
 UC students directly impacted by the Policy, which in turn impairs the physician-patient
 relationships. (Compl. ¶ 6; Gold Decl. ¶ a.) Plaintiffs seek a temporary restraining order
 enjoining Defendants from enforcing the Policy rejecting prescreening of natural immunity. (See
 Appl.)

                                     III. LEGAL STANDARD

      A temporary restraining order (“TRO”) preserves the status quo and prevents irreparable
 harm until a hearing may be held on the propriety of a preliminary injunction. See Reno Air
 Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006). The standard for issuing a
 TRO is identical to the standard for issuing a preliminary injunction. Lockhead Missile & Space
 Co. v. Hughes Aircraft Co., 887 F. Supp. 1320, 1323 (N.D. Cal. 1995).

       “A preliminary injunction is an extraordinary and drastic remedy; it is never awarded as of
 right.” Munaf v. Geren, 553 U.S. 674, 689 (2008) (citations omitted). An injunction is binding
 only on parties to the action, their officers, agents, servants, employees, and attorneys and those
 “in active concert or participation” with them. Fed. R. Civ. P. 65(d)(2).

         “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
 the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
 balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
 Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). In the Ninth Circuit, “serious questions
 going to the merits and a balance of hardships that tips sharply towards the plaintiff can support
 issuance of a preliminary injunction, so long as the plaintiff also shows that there is a likelihood of
 irreparable injury and that the injunction is in the public interest.” Alliance for Wild Rockies v.
 Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (internal quotations omitted).

         When seeking a temporary restraining order through an ex parte application, a plaintiff
 must further show that he is without fault in creating the crisis necessitating the bypass of regular
 motion procedures. See Mission Power Eng’g Co. v. Cont’l Gas Co., 883 F. Supp. 488, 492–93
 (C.D. Cal. 1995). The propriety of a temporary restraining order, in particular, hinges on a
 significant threat of irreparable injury, Simula, Inc. Autoliv, Inc., 175 F.3d 716, 725 (9th Cir.
 1999), that must be imminent in nature, Caribbean Marine Serv. Co. v. Baldridge, 844 F.2d 668,
 674 (9th Cir. 1988). The Ninth Circuit has cautioned that there are very few circumstances
 justifying the issuance of an ex parte temporary restraining order. Reno Air Racing Assoc., Inc.,
 452 F.3d at 1131.

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                                         IV. DISCUSSION

         Plaintiffs request that the Court enjoin enforcement of the Policy “unnecessarily rushing
 Covid-19 vaccination upon already immune students without their informed consent and without
 the opportunity of their doctors to protect them from risk of physical injury and death.” (Appl.
 at 2.) To succeed, Plaintiffs must show that (1) they are likely to succeed on the merits of their
 claim; (2) they are likely to suffer irreparable harm in the absence of emergency relief; (3) the
 balance of equities tips in their favor; and (4) an injunction is in the public interest. Winter v.
 Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). As detailed below, Plaintiffs do not meet
 their burden as to any factor.

 A. Likelihood of Success

         Plaintiffs claim that the Policy infringes on (1) their Fourteenth Amendment right to
 bodily integrity, (2) their Fourteenth Amendment right to be free from state created dangers, and
 (3) the prohibition against discrimination on the basis of medical condition and genetic status
 under the California Unruh Act and Cal. Govt. Code § 11135.

     1. Fourteenth Amendment – Violation of Bodily Integrity

         a. Standard of Constitutional Scrutiny

         The Supreme Court recognizes a “constitutionally protected liberty interest in refusing
 unwanted medical treatment[.]” Cruzan v. Dir., Missouri Dep’t of Health, 497 U.S. 261, 278
 (1990). Plaintiffs argue that the Policy’s restrictions of that right to free and informed consent is
 subject to strict scrutiny. (Appl. at 6.) Not so. Where an alleged government deprivation
 infringes on a fundamental right, courts apply strict scrutiny, the most rigorous form of
 constitutional scrutiny of the government action. Nunez v. City of L.A., 147 F.3d 867, 871 (9th
 Cir. 1998); Washington v. Glucksberg, 521 U.S. 702, 721 (1997). Under that standard, the
 Fourteenth Amendment “forbids the government to infringe … fundamental liberty interests …
 unless the infringement is narrowly tailored to serve a compelling state interest.” Glucksberg,
 521 U.S. at 721. However, where the infringed liberties are neither fundamental nor based on
 suspect classification, rational basis review applies. Sylvia Landfield Tr. v. City of L.A., 729 F.3d
 1189, 1191 (9th Cir. 2013); Glucksberg, 521 U.S. at 728. Under rational basis review, “legislation
 is presumed to be valid and will be sustained if the classification drawn by the statute is rationally
 related to a legitimate state interest.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432,
 440 (1985).

         None of Plaintiffs’ authorities support their proposition that the right to informed
 consent is a fundamental right under the Constitution. Rather, Plaintiffs appear to rely on
 Roman Catholic Diocese of Brooklyn v. Cuomo to support the application of strict scrutiny. 141
 S. Ct. 63, 67 (2020). (Appl. at 7-8.) But Cuomo concerned capacity restrictions on religious
 institutions, which plaintiffs argued were treated less favorably than “essential” businesses. The
 Court applied strict scrutiny because the law at issue targeted religious practice, and “the

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 challenged restrictions [we]re not ‘neutral’ and of ‘general applicability[.]’” Cuomo, 141 S. Ct.
 at 67 (citing Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993)).
 “In addressing the constitutional protection for free exercise of religion,” courts apply strict
 scrutiny unless the challenged law is neutral and of general applicability. Church of Lukumi, 508
 U.S. at 531. However, a law “that is neutral and of general applicability need not be justified by a
 compelling governmental interest even if the law has the incidental effect of burdening a
 particular religious practice.” Church of Lukumi, 508 U.S. at 531.

         Strict scrutiny is not applicable here. First, Plaintiffs make no showing that the Policy
 targets the free exercise of religion. Even if that were the case, as Defendants point out, the
 Policy is in fact neutral and of general applicability. More generally, Plaintiffs make no showing
 that the interest at issue here (bodily autonomy or informed consent) is fundamental under the
 Constitution so as to require greater scrutiny. Thus, the Court applies rational basis. See
 Klaassen, 2021 WL 3073926, at *21 (“Government action that infringes on the liberty interest
 here … is subject to rational basis review.”). This is consistent with the longstanding application
 of rational basis review to assess mandatory vaccination measures. Id. at *24 (listing cases).

         b. Application

         The Policy is “rationally related to a legitimate state interest.” City of Cleburne, 473 U.S.
 at 440. The Supreme Court has recognized that “[s]temming the spread of COVID-19 is
 unquestionably a compelling interest.” Cuomo, 141 S. Ct. at 67. At issue is whether the Policy is
 rationally related to this compelling state interest. The Policy easily meets this test.

          Over a century ago, the Supreme Court held that “a community has the right to protect
 itself against an epidemic of disease which threatens the safety of its members.” Jacobson v.
 Commonwealth of Massachusetts, 197 U.S. 11, 27 (1905). California is facing a surge of COVID-
 19 cases, spurred by the highly contagious Delta variant. (Kuwahara Decl., Exs. 3-7, 12 (recent
 news report detailing sharp increase in COVID-19 cases and the prevalence of the Delta variant);
 Lo Decl. ¶ 7.) Extensive data supports vaccination as an effective strategy for preventing severe
 disease, hospitalization, and death from COVID-19. (Kuwahara Decl., Ex. 8 at 34-36; Huang
 Decl. ¶¶ 6-7.) The vaccines currently available in the United States were authorized for
 emergency use after extensive randomized controlled trials, and the U.S. Centers for Disease
 Control and Prevention (“CDC”) and U.S. Food and Drug Administration (“FDA”) continue
 to conduct post-authorization safety and monitoring. (Id.)

         As stated in the Policy Summary, the Policy’s purpose is “to facilitate protection of the
 health and safety of the University community.” (Kuwahara Decl., Ex. 2 at 2.) It is “the
 product of consultation with UC infectious disease experts and ongoing review of evidence from
 medical studies concerning the dangerousness of COVID-19 and emerging variants of concern, as
 well as the safety and effectiveness of the vaccines for preventing infection, hospitalizations, and
 deaths from COVID-19, and for reducing the spread of this deadly disease.” (Id., Ex. 1 at 1.)
 Susan Huang, MD, MPH, attests that the UC Health infection prevention leadership group was
 actively consulted regarding the Policy. (Huang Decl. ¶ 5 (endorsing the Policy).) Facing similar

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 circumstances, several universities resuming on-campus operations have adopted similar policies.
 (Kuwahara Decl., Exs. 13-21.)

        As it pertains to individuals who previously contracted COVID-19, Defendants point to
 evidence that “ascertainment of prior infection can be unreliable or impractical in some cases,
 and the duration of protection of prior infection is unknown.” (Id., Ex. 22, at 9-10.2) Data shows
 that “[v]accination appears to further boost antibody levels in those with past infection and might
 improve the durability and breadth of protection.” (Id.) While this report recognizes that
 “[i]ndividuals with a history of SARS-CoV-2 may be more likely to experience local and systemic
 adverse effects (eg, fevers, chills, myalgias, fatigue) after a first vaccine dose[,] … [t]his is not a
 contraindication or precaution to a second dose….” (Id.)

       In fact, in its Interim Clinical Considerations for Use of COVID-19 Vaccines Currently
 Authorized in the United States,3 the CDC has indicated:

         Data from clinical trials indicate that the currently authorized COVID-19 vaccines can be
         given safely to people with evidence of a prior SARS-CoV-2 infection. Viral testing to
         assess for acute SARS-CoV-2 infection or serologic testing to assess for prior infection is
         not recommended for the purposes of vaccine decision-making.… While there is no
         recommended minimum interval between infection and vaccination, current
         evidence suggests that the risk of SARS-CoV-2 reinfection is low in the months after
         initial infection but may increase with time due to waning immunity.

        Indeed, a recent study suggests that the immunity of individuals who previously had
 COVID-19 may not be as effective against the surging Delta variant. (Kuwahara Decl., Ex. 24.)
 Thus, the CDC recommends vaccination for individuals who have already had COVID-19 and
 recovered. (Id., Ex. 23.)

         Plaintiffs, of course, dispute the above evidence, arguing that “emerging data establishes
 that vaccinating the Covid-19 Recovered causes an immediately higher death rate worldwide for
 no benefit[.]” (Appl. at 10 (citing Compl. ¶ 27).) But Plaintiffs’ arguments amount to “disputes
 over the most reliable science,” and the Court will not intervene “as long as [Defendants’]
 process is rational in trying to achieve public health.” Klaassen, 2021 WL 3073926, at *38 (citing
 Phillips v. City of New York, 775 F.3d 538, 542 (2d Cir. 2015) (“[P]laintiffs argue that a growing
 body of scientific evidence demonstrates that vaccines cause more harm to society than good, but
 as Jacobson made clear, that is a determination for the [policymaker], not the individual

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         Kathryn M. Edwards, et al., “COVID-19: Vaccines to prevent SARS-CoV-2 infection,”
 UpToDate (updated July 26, 2021), https://www.uptodate.com/contents/covid-19-vaccines-to-
 prevent-sars-cov-2-infection.
         3
          See “People with prior or current SARS-CoV-2 infection,” CDC (updated July 16,
 2021) https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
 us.html.


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 objectors.”)). The Court finds that there is clearly a rational basis for Defendants to institute the
 Policy requiring vaccination, including for individuals who previously had COVID-19. Plaintiffs’
 first claim is unlikely to succeed on the merits.

      2. Fourteenth Amendment – State Created Danger

         Plaintiffs next argue that Defendants have shown “deliberate indifference to the known
 and obvious danger of vaccine injury,” which creates and exposes Plaintiffs to health dangers that
 they would not otherwise face, in contravention of the Fourteenth Amendment. (Appl. at 15-16.)
 The state-created danger exception applies only where “there is affirmative conduct on the part
 of the state in placing the plaintiff in danger,” and “the state acts with deliberate indifference to a
 known or obvious danger.” Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir. 2011) (internal
 quotation marks omitted). Plaintiffs fail to make this showing.

         Deliberate indifference is “a stringent standard of fault, requiring proof that [the state]
 actor disregarded a known or obvious consequence of his action.” Id. The state actor must
 “recognize an unreasonable risk and actually intend to expose the plaintiff to such risks without
 regard to the consequences to the plaintiff.” Id. at 975. Here, the record supports the opposite
 conclusion.

         The Policy provides that it was adopted to protect the health and safety of the
 community. (Kuwahara Decl., Ex. 2 at 2.) It was developed in active consultation with
 infectious disease experts, including the UC Health infection prevention leadership. (Huang
 Decl. ¶ 5; see also Kuwahara Decl. Ex. 1 (detailing that the Policy was developed in consultation
 with UC infectious disease experts and after a review of evidence from medical studies).) These
 experts endorse the Policy, including its application to individuals who previously contracted
 COVID-19 and recovered, as a crucial measure to protect the University community (including
 those individuals). (See Boden-Albala Decl.; Lo Decl.; Huang Decl.)

         The Policy explicitly accounts for recent COVID-19 diagnoses by providing a temporary
 medical exemption. (Kuwahara Decl., Ex. 2.) While Plaintiffs point to a danger of “vaccine
 injury” for individuals with natural immunity, as noted above, the CDC recommends vaccination
 for those who have contracted and recovered from COVID-19, citing data from clinical trials.
 (Id., Ex. 23 (CDC, “Frequently Asked Questions about COVID-19 Vaccination”); n.3 infra).
 The Policy thus stands in harmony with recommendations by the CDC and FDA, which
 “strongly believes that the known and potential benefits of COVID-19 vaccination greatly
 outweigh the known and potential risks of COVID-19.” (Id., Ex. 28 (FDA, COVID-19 Vaccine
 Safety Surveillance, July 12, 2021); Ex. 27 (CDC, Safety of COVID-19 Vaccines) (noting that
 “serious safety problems are rare”).) This evidence supports Defendants’ conclusion that
 requiring vaccination is far from an “unreasonable risk” or a “known and obvious danger.”
 Plaintiffs are unlikely to prevail on the merits of their second claim.

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     3. State Law Claims

          Finally, Plaintiffs assert state law claims under the California Unruh Act and Cal. Govt.
 Code § 11135. However, as Defendants point out, these claims are barred by the Eleventh
 Amendment. (Opp’n at 18.) The Eleventh Amendment bars suits for damages or injunctive
 relief against a state, an arm of the state, its instrumentalities, or its agencies. Durning v.
 Citibank, N.A., 950 F.2d 1419, 1422-23 (9th Cir. 1991). Plaintiffs assert state law claims against
 The Regents of the University of California, as well as UC President, the UC Riverside
 Chancellor, and the UC Irvine Chancellor, all in their official capacities. However, the Regents
 of the University of California “are an arm of the state entitled to Eleventh Amendment
 immunity.” Feied v. The Regents of the Univ. of California, 188 F. App’x 559, 561 (9th Cir.
 2006). The Eleventh Amendment also prohibits actions against state officials in their official
 capacities. Stivers v. Pierce, 71 F.3d 732, 749 (9th Cir. 1995)

        A citizen may sue a state in federal court if the state waives its immunity and consents to
 suit. Welch v. Tex. Dep’t of Highways & Pub. Transp., 483 U.S. 468, 473 (1987). “A State’s
 consent to suit must be ‘unequivocally expressed’ in the text of the relevant statute.” Sossamon,
 563 U.S. at 284. Plaintiffs point to no such statutory waiver. Absent an express and unequivocal
 waiver of California’s sovereign immunity, Plaintiffs’ state law claims are unlikely to succeed.

 B. Irreparable Harm

         Next, Plaintiffs must establish that there is a likelihood of irreparable injury absent the
 Court’s grant of the TRO. Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir.
 2011). As Plaintiffs point out, “[i]t is well established that the deprivation of constitutional rights
 ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th
 Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). But, for the reasons discussed
 above, Plaintiffs’ constitutional claims are unlikely to succeed. Plaintiffs’ claims that the Policy
 violates their constitutional rights are thus insufficient to establish irreparable harm.

         Plaintiffs further suggest that AFD will suffer irreparable harm because member
 physicians provide care to UC students impacted by the vaccine mandate, which would
 irreparably impair their physician-patient relationships. (Appl. at 20 (citing Compl. ¶¶ 6, 11).) In
 turn, Individual Plaintiffs argue they face “risks of life and limb … if they are forced to
 unnecessarily vaccinate[.]” (Appl. at 20.) They add that the vaccine mandate has put them
 under duress, impaired their ability to exercise informed consent or refusal of the vaccine with
 physicians of their choice, and imperiled their academic status and livelihood as students. (See
 Choi Decl.; Powell Decl.) The Court is not persuaded.

         First, as Defendants point out, AFD makes no showing that its members are subject to
 the Policy, or have any role in executing the Policy (such as being required to provide the
 vaccines to their patients). AFD shows little more than a tenuous connection to the Policy - that
 some physicians may provide care to UC students who disagree with the Policy. But that is not
 enough to show harm, much less irreparable harm, to AFD.

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          Second, Plaintiffs fail to establish that Individual Plaintiffs will be irreparably harmed.
  Plaintiffs allude to a series of harms resulting from being “forced to unnecessarily vaccinate.”
  But as Defendants point out, Individual Plaintiffs are not “forced” to vaccinate. Rather, under
  the Policy, vaccination is a condition of physical presence at the University. All students,
  including Individual Plaintiffs, have a choice – albeit undoubtedly a difficult one – to get
  vaccinated, seek an exemption (if applicable), or transfer elsewhere.

          It is well established that “[a] delay in collegiate or graduate education isn’t typically
  irreparable harm.” Klaassen v. Trustees of Indiana Univ., 2021 WL 3073926, at *41 (N.D. Ind.
  July 18, 2021). Indeed, courts have repeatedly held that delays in education are compensable by
  monetary damages. See, e.g., Doe v. Princeton Univ., 2020 WL 2097991, at *7 (D.N.J. May 1,
  2020) (a delay in plaintiff’s education, analogous to a suspension, can be remedied through
  monetary compensation); Madej v. Yale Univ., 2020 WL 1614230, at *6–7 (D. Conn. Mar. 31,
  2020) (academic withdrawal does not mean plaintiff will never be able to obtain his degree;
  rather, his ability to do so will be delayed, which can be remedied through monetary
  compensation; reputational harm assertions are “too speculative to warrant injunctive
  relief”); Roden v. Floyd, 2018 WL 6816162, at *5 (E.D. Mich. Nov. 13, 2018), report and
  recommendation adopted, 2018 WL 6815620 (E.D. Mich. Dec. 27, 2018) (delays in education do
  not constitute irreparable harm); Phillips v. Marsh, 687 F. 2d 620 (2d Cir. 1982) (“We can
  conceive of no irreparable harm that would accrue to [the plaintiff] in allowing her graduation to
  await the outcome of the trial on the merits; any damages to her from deferring her career as a
  military officer in that period of time would surely be compensable by monetary damages.”).
  Plaintiffs make no showing as to why this case would warrant a different conclusion. The Court
  finds that Plaintiffs fail to meet their burden to show irreparable harm.

  C. Balance of Equities and Public Interest

          Finally, the Court finds that the balance of equities and the public interest weighs heavily
  against the requested relief. Plaintiffs Choi and Powell assert an individual liberty interest in
  refusing unwanted treatment. (See Appl.) While that is certainly an important liberty interest,
  “[v]accines address a collective enemy, not just an individual one.” Klaassen, 2021 WL
  3073926, at *24. Thus, Plaintiffs’ decision to refuse vaccination does not affect them alone. The
  UC community includes more than 280,000 students, and more than 227,000 faculty and staff,
  who are expected to return to its campuses this fall. (Boden-Albala Decl. ¶ 8.) This community
  includes individuals who may be at higher risk of contracting COVID-19 and/or suffering poor
  prognostics outcomes for said infection. (Id. ¶ 7.) High vaccine coverage in the community
  protects the community at large, including those who are particularly vulnerable and those who
  cannot be vaccinated. (Id.; see also Huang Decl. ¶¶ 6-9; Lo Decl. ¶¶ 6-10.) Facing a sharp surge
  in COVID-19 cases and the highly contagious Delta variant (Kuwahara Decl., Exs. 3-6), the
  Policy seeks to “maintain the health and well-being of the campus community and that of the
  general public” by limiting physical access to the University community to those who are
  vaccinated (or eligible for limited exemptions). (Kuwahara Decl., Ex. 1.) These public concerns



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  weigh more heavily than Individual Plaintiffs’ interest in refusing unwanted treatment,
  particularly where they have other options, as discussed above.

           Plaintiffs assert that Defendants are “in no way harmed by the issuance of an injunction
  that prevents the state from enforcing unconstitutional restrictions.” Legends Night Club v.
  Miller, 637 F.3d 291, 302-03 (4th Cir. 2011). (Appl. at 21.) But Plaintiffs fail to show that they
  are likely to succeed on the merits of their constitutional claims. Similarly, other than a few
  references to “State sponsored propaganda,” Plaintiffs fail to address the public interest in the
  health and safety of the larger community. As several other courts have held, Plaintiffs have
  failed to establish that the balance of harms or the public’s interest favors the extraordinary
  remedy of a temporary restraining order. Klaassen, 2021 WL 3073926, at *45-46; Carmichael v.
  Ige, 470 F. Supp. 3d 1133 (D. Haw. 2020).

                                       V.     CONCLUSION

         For the reasons above, the Court DENIES Plaintiffs’ Application.

  IT IS SO ORDERED.




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